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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION

 UNITED STATES OF AMERICA,                         )
                                                   )
                             Plaintiff,            )
                                                   )
                        v.                         )     No. 3:10-cr-00003-RLY-CMM
                                                   )
 KIMBERLY WYATT,                                   ) -02
                                                   )
                             Defendant.            )



              ORDER ADOPTING REPORT AND RECOMMENDATION

        The Magistrate Judge submitted his Report and Recommendation on USPO Petition

 for Action on Conditions of Supervised Release. The parties were afforded due

 opportunity pursuant to statute and the rules of this court to file objection; parties waived.

 The court, having considered the Magistrate Judge’s Report and Recommendation, hereby

 ADOPTS the Magistrate Judge’s Report and Recommendation.



 SO ORDERED this 13th day of October 2021.




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